            Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 1 of 22




Sheehan & Associates, P.C.

United States District Court
Southern District of New York                                    7:20-cv-7491

Zaire Parmely, Christopher Lopez,
individually and on behalf of all others
similarly situated,
                                Plaintiffs,

                  - against -                               Class Action Complaint

The Golub Corporation,
                                Defendant

       Plaintiffs by attorneys allege upon information and belief, except for allegations pertaining

to plaintiffs, which are based on personal knowledge:


       1.      The Golub Corporation (“defendant”) manufactures, distributes, markets, labels and

sells vanilla soymilk under its “PICS” brand (“Product”).

       2.      The Product is available to consumers from defendant’s retail stores and website -

Price Chopper and Market 32 – and is sold in cartons of 64 OZ (1.89L).

       3.      The relevant front label representations include “Vanilla,” “Soymilk” and the brand,

“PICS.”
                Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 2 of 22




           4.      Consumers purchase soymilk for reasons including their preference for its unique

taste and are allergic to lactose and other ingredients used to make non-dairy “milks.”

           5.      Soymilk can be flavored with vanilla or chocolate and is sold in sweetened and

unsweetened varieties.

           6.      Nielsen has reported that 62% of consumers say they try to avoid artificial flavors.1

           7.      Another study by New Hope Network concludes that “71% of consumers today are



1
    Nielsen, Reaching For Real Ingredients: Avoiding The Artificial, Sept. 6, 2016.


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             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 3 of 22




avoiding artificial flavors.”2

        8.      Label Insight determined that 76% of consumers avoid products with artificial

flavors.3

        9.      Natural flavors “almost always cost[s] much more than an artificial flavor,” so

companies and consumers are willing to pay higher prices for the real thing – orange flavor from

oranges and vanilla flavor from vanilla, as opposed to orange flavor synthesized from lemons or

vanillin (the main flavor molecule in vanilla) derived from wood pulp or petroleum derivatives.4

        10.     Flavoring ingredients, especially for products labeled as vanilla, are typically the

most expensive ingredient in a food, and vanilla has reached record high prices in recent years.5

        11.     Demand for real vanilla “has been steadily increasing…due to consumer demand for

natural foods that are free of artificial ingredients.”6

        12.     According to one flavor supplier, today’s consumers “want real vanilla, not imitation

[vanilla] flavoring.”

        13.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”7

        14.     Vanilla’s unique flavor cannot be duplicated by science due to over 200 compounds

scientists have identified, including volatile constituents such as “acids, ethers, alcohols, acetals,



2
  Alex Smolokoff, Natural color and flavor trends in food and beverage, Natural Products Insider, Oct. 11, 2019.
3
  Thea Bourianne, Exploring today’s top ingredient trends and how they fit into our health-conscious world, March
26-28, 2018.
4
  David Andrews, Synthetic ingredients in Natural Flavors and Natural Flavors in Artificial flavors, Environmental
Working Group (EWG).
5
  Finbarr O’Reilly, Precious as Silver, Vanilla Brings Cash and Crime to Madagascar, New York Times, Sept. 4, 2018.
6
  Chagrin Valley Soap & Salve Company, FAQs, Why Are The Prices of Vanilla Bean Products Always Increasing?
7
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018; Kristiana
Lalou Queen of flavors: Vanilla rises above transparency concerns to lead category, Food Ingredients First, Sept. 3,
2019 (describing vanilla as “versatile”).


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           Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 4 of 22




heterocyclics, phenolics, hydrocarbons, esters and carbonyls.”8

         15.    In early 2018, in response to rampant misleading labeling of vanilla products,

attorneys for the flavor industry urged their peers to truthfully label vanilla foods so that consumers

are not misled. See John B. Hallagan and Joanna Drake, The Flavor and Extract Manufacturers

Association of the United States (“FEMA”), “Labeling Vanilla Flavorings and Vanilla-Flavored

Foods in the U.S.,” Perfumer & Flavorist, Vol. 43 at p. 46, Apr. 25, 2018 (“Hallagan & Drake”)

(“There are many current examples of food products that are labeled as ‘vanilla’ that are clearly

mislabeled and therefore in violation of FDA regulations.”).

         16.    The authors explain that relevant regulations “require that food products be labeled

accurately so that consumers can determine whether the product is flavored with a vanilla flavoring

derived from vanilla beans, in whole or in part, or whether the food’s vanilla flavor is provided by

flavorings not derived from vanilla beans.9

         17.    The authors noted “Adulteration of vanilla flavorings and foods containing them has

long been a problem in the U.S. and there continue to be modern examples.”

         18.    The harms caused by misleading vanilla labeling include economic deception and

use of toxic ingredients:

         While the concern at the time was for the “economic” adulteration of vanilla extract
         with an artificial and less valuable substance—synthetic vanillin—there was also
         some concern over the use of other adulterants such as coumarin that were thought
         to pose a possible safety concern. 10

         19.    To prevent consumer deception in the labeling of significant food products, the

government established “food standards allow[ing] consumers to trust that a standardized food is


8
  Arun K. Sinha et al., “A comprehensive review on vanilla flavor: extraction, isolation and quantification of vanillin
and other constituents,” International Journal of Food Sciences and Nutrition 59.4 (2008): 299-326.
9
  Hallagan and Drake.
10
   John B. Hallagan and Joanna Drake, The Flavor and Extract Manufacturers Association of the United States,
“Labeling Vanilla Flavorings and Vanilla-Flavored Foods in the U.S.,” Perfumer & Flavorist, Vol. 43 at p. 46, Apr.
25, 2018.


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             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 5 of 22




what it purports to be because they establish[ed] explicit specifications for the standardized food.”11

        20.     Requirements for vanilla products were “established by the FDA in the 1960s over

growing concern of adulteration of vanilla extract with less valuable substances,” which alleviated

“potential consumer fraud by establishing specific requirements for vanilla extract and other

standardized vanilla products.”12

        21.     The vanilla standards were promulgated to end practices which “deprive the

consumer of value the product is represented to have, and for which the consumer pays,” such as

“the widespread and exceedingly serious adulteration of vanilla extracts that are now labeled

‘pure.’”13

        22.     At the time, the FDA stated that “the purposes of the standards are to assure that the

consumer gets what is expected when purchasing vanilla products.”14

        23.     The FDA section chief in charge noted: “The prime purpose sought to be served by

the standards adopted was to promote honest, fair dealing with housewives and other consumers

of the flavorings covered by the standards.”15

        24.     Industry leaders supported vanilla standards to “insure, for the protection of both the

consumers and our industry, that all vanilla products are correctly labeled and meet at least

minimum standards.”16

        25.     The vanilla standards are:




11
   Id.
12
   Id; New York has adopted all federal regulations for food labeling through its Agriculture and Markets Law
(“AGM”) and accompanying regulations, Title 1, Official Compilation of Codes, Rules and Regulations of the State
of New York (“NYCRR”).
13
   Letter from McCormick & Company Inc. to HEW Secretary, January 15, 1960.
14
   Press Release U.S. Department of Health, Education, and Welfare, September 13, 1963.
15
   Memorandum of Telephone Conversation between Mr. Alfred Daibock, Commercial Policy Division, Department
of State and Tom Bellis, Food Standards Branch, FDA.
16
   Letter from McCormick & Company Inc. to HEW Secretary, January 15, 1960.


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             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 6 of 22




           [A] series of individual standards that describe the common or usual name and
           recipes for eight flavorings: vanilla extract, concentrated vanilla extract, vanilla
           flavoring, concentrated vanilla flavoring, vanilla powder, vanilla-vanillin extract,
           vanilla-vanillin flavoring, and vanilla-vanillin powder.

           These eight individual standards, at 21 CFR 169.175 – 169.182, are supported by
           specific requirements for the vanilla beans that may be used to produce vanilla
           extract and other vanilla products.17

           26.   Three of these standards “combine vanilla extract with the primary chemically

defined flavoring substance in vanilla beans, vanillin.”18

           27.   That Hallagan and Drake felt they needed to publicly identify the misleading labeling

of vanilla products to their peers in the flavor and food industry is indicative that many are

unaware, misunderstand or ignore vanilla labeling requirements.

           28.   To correctly label foods with a characterizing flavor of vanilla, Hallagan and Drake

stress two key points:

       1. “The federal standards of identity for vanilla flavorings at 21 CFR Section 169 [and ice

           cream at 21 CFR Section 135,] and their labeling requirements, take precedence over the

           general flavor and food labeling regulations at 21 CFR Section 101.22;” and

       2. “The federal standard of identity for vanilla flavorings at 21 CFR Section 169 applies to

           both the flavorings sold directly to consumers and to food manufacturers [for use in

           finished food products].”19


           29.   This confusion in labeling vanilla products is exacerbated because the regulations

are not complete on their own but require incorporating external documents of limited availability.

Hallagan and Drake (“A variety of resources are available to flavor and food manufacturers and

consumers that facilitate an understanding of the proper labeling of vanilla flavorings and vanilla-


17
     Id.
18
     Id.
19




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              Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 7 of 22




flavored foods.”).

           30.    These resources include:

           [A] formal advisory opinion issued by FDA and a variety of regulatory
           correspondence issued by FDA in response to inquiries from other federal agencies,
           industry, and the public.

           31.    The regulatory correspondence clarifies the relationship between the general flavor

regulations and vanilla regulations:

           It is important to emphasize that these [at 21 CFR Sections 101.22(i)(1), (2) and
           (3)] regulations apply only to foods that are not subject to a federal standard of
           identity.

           …

           These regulations, found at 21 CFR Section 101.22, apply to all foods except for
           those subject to a federal standard of identity and this has often resulted in some
           confusion with the standards governing vanilla flavorings and ice cream that have
           their own requirements for proper labeling as required in FFDCA Section 403.

           Hallagan and Drake (emphasis added).

           32.    A significant distinction noted by Hallagan and Drake is that:

           The U.S. federal standard of identity for vanilla flavorings does not provide for the
           designation of any vanilla flavorings as “vanilla with other natural flavors” or
           “vanilla WONF.”20

           33.    The purpose of not providing for the designation of “Vanilla WONF” was to prevent

consumers from being misled by a small amount of vanilla, boosted by artificial vanilla flavors,

including vanillin.

           34.    According to Hallagan and Drake, “Severe price and supply dislocations have

historically coincided with changes in practices related to the composition and labeling of vanilla

flavorings.”21

           35.    Where vanilla prices are high, “synthetic vanillin-based flavorings may be used to


20
     Labeling Vanilla Flavors.
21
     Id.


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             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 8 of 22




replace vanilla extract, or to adulterate vanilla extract in violation of the federal standard of

identity.”

        36.     Moreover, “Recent increased emphasis on consumers’ desires for foods containing

‘natural’ food ingredients has resulted in the exploration of vanilla flavoring alternatives that are

not derived from vanilla beans.”

        37.     These two trends – high vanilla prices and an industry focus on providing “natural

flavors” – have coincided with a third development – the manufacture of vanillin through a

purportedly natural process, such as fermentation.

        38.      Many flavor suppliers have mistakenly touted their vanillin products as “natural

vanillin” and promoted such flavors as replacements for vanilla extract. See Kristine Sherred,

Natural vanillin: Is it the stable flavor source the industry needs? Confectionary News, June 14,

2019 (erroneously stating that the “FDA has certified only Rhovanil as ‘natural vanillin’ since

changing its rules in 2007.”) compare with Hallagan and Drake, p. 48 (“FDA has clearly stated

that the only vanillin that the agency will regard as ‘natural vanillin’ is vanillin derived from vanilla

beans, which is rarely if ever produced for economic reasons.”).

        39.      Producers of vanillin made through natural processes promote it as a substitute for

“real vanilla extract drop-for-drop.”

        40.      This “natural vanillin” is then added to real vanilla, and companies erroneously

and/or intentionally identify it as “Natural Flavors” to consumers.

        41.     Hallagan and Drake state that where a product’s front label representation is

“Vanilla” without qualification, it “lead[s] consumers to believe that it is flavored with vanilla

extract, or another vanilla flavoring derived solely from vanilla beans, as defined in the federal




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             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 9 of 22




standard of identity when in fact it is not.22 See 21 C.F.R. § 101.22(i)(1) (“If the food contains no

artificial flavor which simulates, resembles or reinforces the characterizing flavor, the name of the

food on the principal display panel or panels of the label shall be accompanied by the common or

usual name of the characterizing flavor, e.g., ‘vanilla’”); see also 21 U.S.C. §343(g) (requiring

ingredients to be listed with “the name of the food specified in the definition and standard”); 21

C.F.R. § 101.4(a)(1) (requiring ingredients “be listed by common or usual name”).

           42.    Though consumers will expect the Product to be flavored only with vanilla extract,

it also contains “Natural Flavors,” shown on the ingredient list.




         INGREDIENTS: ORGANIC SOYMILK (FILTERED WATER, ORGANIC
         SOYBEANS), CANE SUGAR, CALCIUM CARBONATE, VANILLA EXTRACT,
         NATURAL FLAVORS, SEA SALT, GELLAN GUM, VITAMIN A PALMITATE,
         VITAMIN D2, RIBOFLAVIN (VITAMIN B2) AND VITAMIN B12

           43.    The representation of the Product as “Vanilla” is misleading because the vanilla taste

is provided in significant part by the “Natural Flavors” ingredient.

           44.    These “Natural Flavors” are artificial vanilla flavors, which provide much and/or



22
     Hallagan and Drake at 54.


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          Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 10 of 22




most of the Product’s vanilla taste, yet this is not disclosed to consumers.

        45.    These “Natural Flavors” include and/or typically include maltol, piperonal and

vanillin from non-vanilla sources.

        46.    Maltol “can improve overall flavor, potentiate sweetness, increase the sensation of

creaminess” and has “a mild flavor and sweet caramel-like odor.”23

        47.    Maltol “can help to smooth authentic style vanilla bean flavors” at modest levels.24

        48.    Piperonal contributes “a sweet vanilla olfactory note as well as a sweet, aromatic,

vanilla, and benzaldehyde taste” and imparts “vanilla flavors to food and beverage products.”25

        49.    These “Natural Flavors” consist of compounds which enhance, resemble, simulate,

reinforce and extend the “complex array of flavor notes and aromas” of vanilla.26

        50.    In non-vanilla flavors, a food which gets some flavor from the named, characterizing

flavor, i.e., strawberry, and other flavor from natural sources other than the named flavor, i.e.,

cherries, which enhances, resembles and simulates the named flavor requires the front label to state

“With Other Natural Flavor” (“WONF”). See 21 C.F.R. § 101.22(i)(1)(iii); see also 21 U.S.C. §

343(i) (non-standardized flavors “may be designated as spices, flavorings, and colorings without

naming each.”).27

        51.    According to Hallagan and Drake, this is the established FDA position:

        FDA will treat natural flavor compounds that simulate vanilla but are not derived
        from vanilla beans as artificial flavors that simulate the natural characterizing


23
   Lisa Kobs, The Sweet Taste of Success – Part Two, Food Ingredients Online, 1998; Maltol, UL Prospector, Bryan
W Nash & Sons Ltd.
24
   John Wright, Flavor Bites: Maltol, Perfumer & Flavorist, June 2020.
25
    C. B. Gnadinger, "Piperonal in Vanilla Extract." Industrial & Engineering Chemistry 18.6 (1926): 588-589;
Piperonal, Moellhausen S.p.A., UL Prospector.
26
   Vanilla, Taste Foundations, Virginia Dare Company.
27
   Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “[T]hat Seem[s] to be
Authentic or at Least Derived from a Natural Source”) (emphasis added).


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          Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 11 of 22




        flavor.28

        52.     They emphasize that vanilla is the one exception to the “WONF” requirement:

        The standards for vanilla extract and the other standardized vanilla products at 21
        CFR 169 expressly do not provide WONF designation. This means that a flavoring
        mixture of vanilla extract and vanillin produced through a “natural” process (i.e. a
        process consistent with the definition of natural flavor at 21 CFR Section 101.22(a)
        (3)) cannot be described as “vanilla extract WONF,” “vanilla WONF” or other
        similar descriptive terms.29

        53.     In all circumstances, according to FEMA:

        [V]anillin is characterizing for vanilla and [that] the addition of vanillin, whether
        derived from lignin or from other sources, must be clearly declared as in one of the
        three standardized vanilla flavorings or else the flavoring (most likely to be vanilla
        extract) is adulterated as would be any food containing it. 30

        54.     These “standardized vanilla flavorings” include vanilla-vanillin extract and vanilla-

vanillin flavoring, which combine vanilla and non-vanilla vanillin. See 21 C.F.R. § 169.180(b)

(“Vanilla-vanillin extract”); 21 C.F.R. § 169.181(b) (“Vanilla-vanillin flavoring”).

        55.     The Product’s ingredient list is misleading because even assuming the “Natural

Flavors” are all from natural source material, it fails to disclose these ingredients as artificial flavor

when paired with vanilla, i.e., vanillin. See 21 C.F.R. § 169.181(b) (“Vanilla-vanillin flavoring”)

(requiring ingredient list to state “‘contains vanillin, an artificial flavor (or flavoring).’”); see also

Memorandum of Conference, Status of Vanilla Flavoring with other Natural Flavors, July 8, 1966

(“The vanilla standard determines vanilla as a standardized product. If other flavorings are added,

then the vanilla is no longer a standardized product and should therefore be labeled artificial or

imitation.”).

        56.     The front label is misleading because it does not disclose the presence of the non-




28
   Hallagan and Drake, p. 48.
29
   Hallagan and Drake, p. 46.
30
   Hallagan and Drake.


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         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 12 of 22




vanilla flavors on the front label, which enhance, resemble and simulate the taste provided by

vanilla extract.

        57.   By omitting these other flavors from the front label, consumers are not told that the

Product’s vanilla taste is not provided exclusively, or even predominantly, by vanilla beans.

        58.   By designating the ingredient as “Natural Flavors” separately from “Vanilla

Extract,” consumers are unaware this should be labeled as “artificial flavor,” if they are suspicious

to “double check” the components of the Product.

        59.   Consumers who read the ingredient list will expect the “Natural Flavors” to refer to

natural vanilla flavors instead of artificial vanilla flavors and are misled to believe that the Product

contains more vanilla than it does.

        60.   The Product’s front label does not state “contains some vanilla” or “made with a drop

of vanilla,” but designates the characterizing flavor as “Vanilla” without qualifying terms.

        61.   Consumers, including Plaintiffs, expect the Product’s vanilla taste to only come from

vanilla beans because they are accustomed to labels with terms such as “naturally flavored,”

“flavored,” “artificial flavors” and “with other natural flavors.” See 21 C.F.R. § 101.22(i)(1)(i)

(“e.g., ‘natural strawberry flavored shortcake,’ or ‘strawberry flavored shortcake’.”); 21 C.F.R. §

101.22(i)(1)(ii) and 21 C.F.R. § 101.22(i)(2) (“artificially flavored”); 21 C.F.R. § 101.22(i)(1)(iii)

(“with other natural flavor”).

        62.   These qualifying and descriptive terms tell consumers that a food’s characterizing

flavor does not exclusively come from its characterizing food ingredient.

        63.   Defendant knows consumers will pay more for the Product because the label only

states “Vanilla.”

        64.   Defendant’s branding and packaging of the Product is designed to – and does –




                                                  12
             Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 13 of 22




deceive, mislead, and defraud plaintiff and consumers.

        65.     Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers like

plaintiff.

        66.     The value of the Product that plaintiffs purchased and consumed was materially less

than its value as represented by defendant.

        67.     Had plaintiffs and class members known the truth, they would not have bought the

Product or would have paid less for them.

        68.     As a result of the false and misleading labeling, the Product are sold at a premium

price, approximately no less than $4.19 per 64 FL OZ, excluding tax, compared to other similar

products represented in a non-misleading way, and higher than the price of the Product if it were

represented in a non-misleading way.

                                        Jurisdiction and Venue


        69.     Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2)

        70.     Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]” Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        71.     Plaintiff Zaire Parmely is a citizen of Massachusetts.

        72.     Defendant The Golub Corporation, is a Delaware corporation with a principal place

of business in Schenectady, Schenectady County, New York and is a citizen of New York.

        73.     “Minimal diversity” exists because plaintiff Zaire Parmely and defendant are citizens

of different states.



                                                  13
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 14 of 22




       74.   Upon information and belief, sales of the Product in Massachusetts and New York

exceed $5 million per year, exclusive of interest and costs, and the aggregate amount in

controversy exceeds $5 million per year.

       75.   Venue is proper in this judicial district because a substantial part of the events or

omissions giving rise to the claim occurred in this District, viz, the decision of plaintiff Lopez to

purchase the Product and the misleading representations and/or their recognition as such.

       76.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

                                                Parties

       77.   Plaintiff Zaire Parmely is a citizen of Bellingham, Norfolk County, New York.

       78.   Plaintiff Christopher Lopez is a citizen of Middletown, Orange County, New York.

       79.   Defendant The Golub Corporation is a Delaware corporation with a principal place

of business in Schenectady, New York, Schenectady County and is a citizen of New York.

       80.   Defendant operates at least 132 grocery stores, which include the Price Chopper and

Market 32 stores, across New York, Connecticut, Massachusetts, Vermont, New Hampshire,

Pennsylvania and Rhode Island.

       81.   During the relevant statutes of limitations, plaintiffs purchased the Product within

their district and/or State for personal and household consumption and/or use in reliance on the

representations of the Product.

       82.   Plaintiff Zaire Parmely purchased the Product on one or more occasions, during the

relevant period, at defendant’s Price Chopper and/or Market 32 stores, in or around January 2019,

at locations including but not necessarily limited to 167 W Main St, Hopkinton, MA 01748.

       83.   Plaintiff Christopher Lopez purchased the Product on one or more occasions, during

the relevant period, at defendant’s Price Chopper and/or Market 32 stores, on or around May 30,


                                                 14
          Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 15 of 22




2020, at locations including but not necessarily limited to 115 Temple Hill Rd, New Windsor, NY

12553.

         84.   Plaintiffs bought the Product at or exceeding the above-referenced prices because

they liked the product for its intended use and relied upon the front label claim to expect its taste

only came from the identified front label ingredient.

         85.   Plaintiffs were deceived by and relied upon the Product's deceptive labeling.

         86.   Plaintiffs would not have purchased the Product in the absence of Defendant’s

misrepresentations and omissions.

         87.   The Product was worth less than what Plaintiffs paid for it and they would not have

paid as much absent Defendant's false and misleading statements and omissions.

         88.   Plaintiffs intends to, seeks to, and will purchase the Product again when they can do

so with the assurance that Product's labels are consistent with the Product’s components.

                                         Class Allegations


         89.   The class will consist of all purchasers of the Product who reside in Massachusetts

and New York during the applicable statutes of limitations.

         90.   Plaintiffs seek class-wide injunctive relief based on Rule 23(b) in addition to a

monetary relief class.

         91.   Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiffs and class members are entitled to

damages.

         92.   Plaintiffs' claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

         93.   Plaintiffs are adequate representatives because their interests do not conflict with



                                                 15
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 16 of 22




other members.

        94.   No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

        95.   Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

        96.   Plaintiffs' counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

        97.   Plaintiffs seek class-wide injunctive relief because the practices continue.

                         New York General Business Law (“GBL”) §§ 349 & 350,
                               Massachusetts General Laws Chapter 93A
                                   (Consumer Protection Statutes)

        98.   Plaintiffs incorporate by reference all preceding paragraphs.

        99.   Plaintiffs and class members desired to purchase and consume products which were

as described and marketed by defendant and expected by reasonable consumers, given the product

type.

        100. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

        101. Defendant     misrepresented       the    substantive,   quality,   compositional   and/or

environmental attributes of the Product.

        102. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product and consumers do not expect non-vanilla,

flavors where a product’s characterizing flavor is labeled “vanilla” without more.

        103. The ingredient list designation of “natural flavors” fails to tell consumers and

plaintiffs that the Product contains non-vanilla flavors, and/or artificial flavors which may or does

include vanillin from non-vanilla sources, maltol and piperonal.


                                                      16
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 17 of 22




       104. The front label omits qualifying terms required to modify a characterizing flavor’s

representation when such flavor is not provided exclusively by the characterizing food ingredient,

in violation of regulations requiring disclosure of these facts to Plaintiffs.

       105. Plaintiffs relied on the statements, omissions and representations of defendant, and

defendant knew or should have known the falsity of same.

       106. Where applicable, defendant was provided adequate notice of the violation of

relevant Massachusetts consumer protection laws.

       107. Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       108. Plaintiffs incorporate by reference all preceding paragraphs.

       109. Defendant       misrepresented     the    substantive,   quality,    compositional   and/or

environmental attributes of the Product.

       110. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product and consumers do not expect non-vanilla,

flavors where a product’s characterizing flavor is labeled “vanilla” without more.

       111. The ingredient list designation of “natural flavors” fails to tell consumers and

plaintiffs that the Product contains non-vanilla flavors, and/or artificial flavors which may or does

include vanillin from non-vanilla sources, maltol and piperonal.

       112. The front label omits qualifying terms required to modify a characterizing flavor’s

representation when such flavor is not provided exclusively by the characterizing food ingredient,

in violation of regulations requiring disclosure of these facts to Plaintiffs.

       113. Defendant had a duty to disclose and/or provide non-deceptive marketing of the




                                                     17
           Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 18 of 22




Product and knew or should have known same were false or misleading.

       114. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product type.

       115. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a well-known and respected brand or entity in this sector.

       116. Plaintiffs and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Product.

       117. Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       118. Plaintiffs incorporate by reference all preceding paragraphs.

       119. The Product was manufactured, labeled and sold by defendant or at its express

directions and instructions, and warranted to plaintiffs and class members that they possessed

substantive, quality, compositional and/or environmental which they did not.

       120. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       121. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product and consumers do not expect non-vanilla,

flavors where a product’s characterizing flavor is labeled “vanilla” without more.

       122. The ingredient list designation of “natural flavors” fails to tell consumers and

plaintiffs that the Product contains non-vanilla flavors, and/or artificial flavors which may or does

include vanillin from non-vanilla sources, maltol and piperonal.



                                                 18
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 19 of 22




       123. The front label omits qualifying terms required to modify a characterizing flavor’s

representation when such flavor is not provided exclusively by the characterizing food ingredient,

in violation of regulations requiring disclosure of these facts to Plaintiffs.

       124. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       125. Plaintiffs provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       126. Defendant received notice and should have been aware of these misrepresentations

due to numerous complaints by consumers to its main office over the past several years regarding

the Product, of the type described here.

       127. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       128. Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud


       129. Plaintiffs incorporate by reference all preceding paragraphs.

       130. Defendant       misrepresented     the    substantive,   quality,    compositional   and/or

environmental attributes of the Product.

       131. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product and consumers do not expect non-vanilla,

flavors where a product’s characterizing flavor is labeled “vanilla” without more.

       132. The ingredient list designation of “natural flavors” fails to tell consumers and

plaintiffs that the Product contains non-vanilla flavors, and/or artificial flavors which may or does



                                                     19
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 20 of 22




include vanillin from non-vanilla sources, maltol and piperonal.

       133. The front label omits qualifying terms required to modify a characterizing flavor’s

representation when such flavor is not provided exclusively by the characterizing food ingredient,

in violation of regulations requiring disclosure of these facts to Plaintiffs.

       134. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Product on the front label and ingredient list, when it knew its statements were neither true nor

accurate and misled consumers.

       135. Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                           Unjust Enrichment

       136. Plaintiffs incorporate by reference all preceding paragraphs.

       137. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiffs and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiffs demand a jury trial on all issues.

    WHEREFORE, Plaintiffs pray for judgment:

   1. Declaring this a proper class action, certifying plaintiffs as representatives and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;


                                                  20
        Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 21 of 22




   4. Awarding monetary damages and interest pursuant to the common law and other statutory

      claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiffs' attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 12, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
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                                              21
         Case 7:20-cv-07491-NSR Document 1 Filed 09/12/20 Page 22 of 22




7:20-cv-7491
United States District Court
Southern District of New York

Zaire Parmely, Christopher Lopez, individually and on behalf of all others similarly situated,


                                         Plaintiffs,


        - against -


The Golub Corporation,


                                         Defendant




                                   Class Action Complaint



                       Sheehan & Associates, P.C.
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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: September 12, 2020
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
